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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: December 29, 2023

                                                 ________________________________________
                                                            SHAD M. ROBINSON
                                                    UNITED STATES BANKRUPTCY JUDGE
  ______________________________________________________________


                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  IN RE:                                        §              CASE NO. 23-10827-SMR
                                                §
  BENTOLI, INC.                                 §
                                                §
  DEBTOR.                                       §              CHAPTER 11

   ORDER AUTHORIZING AND AWARDING FIRST AND FINAL APPLICATION FOR
      COMPENSATION OF FEES AND EXPENSES OF MICHAEL G. COLVARD,
                       SUBCHAPTER V TRUSTEE

           WHEREAS, in said District, came on for consideration the First and Final Application for

  Compensation of Fees and Expenses, (the “Final Application”) of Michael G. Colvard (“Colvard,”

  “Applicant” and/or “Trustee”), as Subchapter V Trustee, seeking final allowance of compensation

  and reimbursement of actual and necessary expenses for the period of October 3, 2023 through

  December 6, 2023 in the amount of Twenty Thousand Nine Hundred Twenty-Eight Dollars and

  00/100 ($20,928.00), plus expenses in the amount of Four Hundred Eighty Dollars and 63/100

  ($480.63), plus Five Hundred Dollars and no/100 ($500.00) for finalizing, filing and hearing on this

  Application, plus Five Hundred Dollars and no/100 ($500.00) for estimated fees and expenses for
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  post-confirmation services for a total of Twenty-Two Thousand Four Hundred Eight Dollars and

  63/100 ($22,408.63), and the Court finding that the compensation should be awarded and the

  reimbursement of out-of-pocket expenses should be allowed. It is therefore. . .

         ORDERED, ADJUDGED and DECREED that Colvard be and hereby is, awarded his final

  compensation for fees in the amount of $21,928.00 and expenses of $480.63. It is further. . .

         ORDERED, ADJUDGED and DECREED that Colvard may apply all funds received from

  Debtor as retainer deposits per the terms of the Order Approving the Motion for Approval of Post-

  Petition Monthly Retainer Payments [ECF No. 105]. It is further. . .

         ORDERED, ADJUDGED and DECREED that Colvard be and hereby is provided final

  approval for all fees and expenses awarded for services provided within this proceeding between

  October 3, 2023 through December 6, 2023 in the amount of Twenty Thousand Nine Hundred

  Twenty-Eight Dollars and 00/100 ($20,928.00), plus expenses in the amount of Four Hundred

  Eighty Dollars and 63/100 ($480.63), plus Five Hundred Dollars and no/100 ($500.00) for

  finalizing, filing and hearing on this Application, plus Five Hundred Dollars and no/100 ($500.00)

  for estimated fees and expenses for post-confirmation services for a total of Twenty-Two Thousand

  Four Hundred Eight Dollars and 63/100 ($22,408.63), which sum is to be paid by Debtor under the

  terms of the Order Confirming Amended Plan of Reorganization.

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  Submitted by:

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  By:/s/ Michael G. Colvard
         MICHAEL G. COLVARD
         State Bar No. 0462920

  SUBCHAPTER V TRUSTEE




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